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 7
 8                              UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
 9
10
11    FameFlynet, Inc. and BWP Media USA Inc. d/b/a         Docket No:
12    Pacific Coast News,
                                                                         COMPLAINT
13                           Plaintiff,
14
                               vs.
15
16    Nice Kicks, LLC,
17
                            Defendant.
18
19
             FameFlynet, Inc. ("FameFlyNet") and BWP Media USA Inc. d/b/a Pacific Coast
20
      News ("BWP") (hereinafter collectively referred to as “Plaintiffs”), by and through its
21
      undersigned counsel, for their Complaint against Defendant Nice Kicks, LLC ( “Defendant”)
22
      states and alleges as follows:
23
24
                                            INTRODUCTION
25
             1.      This action seeks to recover for copyright infringement.        Plaintiffs herein
26
      provide entertainment-related photojournalism goods and services and own the rights to
27
      photographs featuring celebrities which they license to online and print publications. Plaintiffs
28
      have obtained U.S. copyright registrations covering many of its photographs, and many others
29
      are the subject of pending copyright applications.
30
             2.      Defendant owns and operates a website known as www.nicekicks.com (the
31
      “Website”) and, without permission or authorization from Plaintiff actively copied, stored,
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 1    modified, and/or displayed Plaintiff'ss photographs on the Websites without permission or
 2    authorization from Plaintiff and engaged in this misconduct knowingly and in violation of the
 3    United States copyright laws.
 4
 5                                    JURISDICTION AND VENUE

 6           3.      This Court has subject matter jurisdiction over the federal copyright

 7    infringement claims pursuant to 28 U.S.C. §1338(a) and 28 U.S.C. §1331.

 8           4.      Additionally, this Court has subject matter jurisdiction over all of the

 9    photographs, inclusive of any unregistered images. Reed Elsevier, Inc. v. Muchnick, 559 U.S.

10    154, 130 S.Ct. 1237 (2010), see e.g. Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146,

11    1154 99th Cir. 2007); Olan Mills, Inc. v. Linn Photo Co., 23 F.3d 1345, 1349 (8th Cir. 1994);

12    Pac. & S. Co., Inc., v. Duncan, 744 F.2d 1490, 1499 n. 17 (11th Cic. 1984).

13            5.     This Court has personal jurisdiction over Nice Kicks, LLC because Nice

14    Kicks, LLC registered to do business in California, and thus, has consented to personal

15    jurisdiction in California.

16            6.     Venue is proper under 28 U.S.C. §1391(a)(2) because Nice Kicks, LLC does

17    business in this Judicial District and/or because a substantial part of the events or omissions

18    giving rise to the claim occurred in this Judicial District.

19                                                PARTIES

20    I.     Plaintiff
21
              7.     FameFlyNet is a California Corporation and maintains its principal place of
22
      business in Los Angeles County, California.
23
              8.     BWP is a Delaware Corporation and maintains its principal place of business
24
      in Los Angeles County, California.
25
26
      II.    Defendant
27
              9.     On information and belief, Defendant Nice Kicks, LLC, is a Texas Limited
28
      Liability Company with a principal place of business in Travis County, Texas and is liable
29
      and responsible to Plaintiff based on the facts herein alleged.
30
              10.    The Website is popular and lucrative enterprises that purposefully display
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      celebrity and/or news photographs, including Plaintiffs’ copyrighted photographs.
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 1             11.   The Website is monetized in that they contain paid advertisements and/or sell
 2    merchandise to the public and, on information and belief, Defendant profits from these
 3    activities.
 4             12.   Without permission or authorization from Plaintiffs, Defendant volitionally
 5    selected, copied, modified, stored and/or displayed Plaintiffs’ copyright protected
 6    photographs (hereinafter collectively referred to as “Photographs”), as set forth in Exhibit “1”
 7    which is annexed hereto and incorporated in its entirety herein, on the Website.
 8            13.    On information and belief, the Photographs were copied, modified, stored
 9    and/or displayed without license or permission, thereby infringing on their copyrights
10    (hereinafter collectively referred to as the “Infringements”).
11            14.    As is set forth more fully in Exhibit “1”, each listed Infringement contains the
12    URL (“Uniform Resource Locator”) for a fixed tangible medium of expression that was
13    sufficiently permanent or stable to permit it to be communicated for a period of more than
14    transitory duration and therefore constitutes a specific item of infringement.        17 U.S.C.
15    §106(5); Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1160 (9th Cir. 2007).
16            15.    Each listed infringement in “Exhibit 1” is an exact copy of Plaintiffs’ original
17    image that was directly copied and stored by Defendant on the Website.
18            16.    Each infringement listed in “Exhibit 1” constitutes a separate and distinct act
19    of infringement by Defendant.
20            17.    On information and belief, Defendant takes an active and pervasive role in the
21    content posted on its Website, including, but not limited to copying, posting, selecting,
22    commenting on and displaying Plaintiffs’ Photographs.
23            18.    17 U.S.C. §512, also known as the Digital Millennium Copyright Act
24    (“DMCA”) provides a defense against an infringement that is “by reason of the storage at the
25    direction of a user.” The applicable legislative history provides that “[i]nformation that
26    resides on the system or network operated by or for the service provider through its own acts
27    or decisions and not at the direction of a user does not fall within the liability limitation of
28    subsection (c).” See S.Rep. No. 105–190, at 43 (1998).
29            19.    Defendant's conduct is not safe harbored by DMCA, in that, on information
30    and belief, Defendant has failed to register with the United States Copyright Office pursuant
31    to 17 U.S.C. §512.
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 1           20.     On information and belief, Defendant was aware of facts or circumstances
 2    from which the determination regarding the Infringements was apparent. Defendant cannot
 3    claim that it was aware of the infringing activities, including the specific Infringements which
 4    form the basis of this complaint, since such a claim would amount to only willful blindness to
 5    the Infringements on the part of Defendant.
 6           21.     On information and belief, Defendant engaged in the Infringements knowingly
 7    and in violation of applicable United States Copyright Laws.
 8           22.     Additionally, on information and belief, Defendant, with “red flag” knowledge
 9    of the infringements, failed to promptly remove same (see 17 U.S.C. §512(c)(1)(A)(i)) as
10    evidenced by the following:
11           (a)     Defendant’s employees and agents created, authored, posted, participated in
12                   and/or commented on “threads,” articles or postings including those featuring
13                   Plaintiff’s copyright-protected Photographs;
14           (b)     Defendant’s employees and agents actively reviewed, monitored, commented
15                   on, deleted and “cleaned” postings, articles and threads similar to and
16                   including those featuring Plaintiff’s copyright-protected Photographs;
17           (c)     Many of the Photographs are readily identifiable as copyright-protected as they
18                   contain a copyright watermark on the image, thereby making Defendant’s
19                   infringement willful as a matter of law.
20           23.     Further, Defendant has the legal right and practicable ability to control and
21    limit the infringing activities on its Websites and regularly exercised and/or had the ability to
22    exercise such right, which, on information and belief, is evidenced by the following:
23           (a)     Defendant’s employees and agents had complete control over and actively
24                   reviewed and monitored the content posted on the Website.
25           (b)     Defendant admits that it monitors the content on the Website.
26           (c)     Defendant’s employees and agents actively review, modify and delete or
27                   “cleaned” postings, articles and threads on the Website.
28           24.     On information and belief, Defendant has received a financial benefit directly
29    attributable to the Infringements. Specifically, by way of the Infringements, the Website had
30    increased traffic to the and, in turn, realized an increase their advertising revenues and/or
31    merchandise sales. 17 U.S.C. §512(c)(1)(B).
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 1                25.   On information and belief, a large number of people has viewed the unlawful
 2    copies of the Photographs on the Website.
 3                26.   On information and belief, Defendant at all times had the ability to stop the
 4    reproduction and display of Plaintiffs’ copyrighted material.
 5                27.   As a result of Defendant's misconduct, Plaintiffs have been substantially
 6    harmed.
 7
 8                                            FIRST COUNT
                           (Direct Copyright Infringement, 17 U.S.C. §501 et seq.)
 9
10                28.   Plaintiffs repeat and incorporate by reference the allegations contained in the

11    preceding paragraphs, as though set forth in full herein.

12                29.   The Photographs are original, creative works in which Plaintiffs own valid

13    copyright properly registered with the United States Copyright Office.

14                30.   Plaintiffs have not licensed Defendant the right to use the Photographs in any

15    manner, nor have Plaintiffs assigned any of their exclusive rights in the Copyrights to

16    Defendant.

17                31.   Without permission or authorization from Plaintiffs and in willful violation of

18    their rights under 17 U.S.C. §106, Defendant improperly and illegally copied, stored,

19    reproduced, distributed, adapted, and/or publicly displayed works copyrighted by Plaintiffs

20    thereby violating one of Plaintiffs' exclusive rights in its copyrights.

21                32.   Defendant's reproduction of the Photographs and display of the Photographs on

22    the Websites constitutes willful copyright infringement. Feist Publications, Inc. v. Rural

23    Telephone Service Co., Inc., 499 U.S. 340, 361 (1991).

24                33.   On information and belief, thousands upon thousands of people has viewed the

25    unlawful copies of the Photographs on the Website.

26                34.   As a direct and proximate result of Defendant's misconduct, Plaintiffs have

27    been substantially harmed and should be awarded statutory damages against Defendant

28    pursuant to 17 U.S.C. §504(c) of up to $150,000 per infringement in an amount to be proven

29    at trial.

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 1                                           SECOND COUNT
 2                                   (Vicarious Copyright Infringement)

 3            35.     Plaintiffs repeat and incorporate, as though fully set forth herein, each and

 4    every allegation contained in the preceding paragraphs, as though set forth in full herein.

 5            36.     At all material times hereto, on information and belief, Defendant had the legal

 6    right and practicable ability to supervise, control, limit, and stop the infringing conduct of its

 7    employees, agents and members, and yet, Defendant declined to exercise such right and

 8    ability in the instant case.

 9            37.     For example, on information and belief, Defendant had the practicable ability

10    to police the images on the Website when its employees and agents edited, modified and/or

11    interacted with the Photographs and, therefore, had the right and ability to supervise and

12    control the infringing Photographs..

13            38.     As a direct and proximate result of Defendant’s refusal to exercise its right to

14    stop or limit the infringing conduct, on information and belief, Defendant’s members have

15    continued to infringe upon Plaintiff’s Photographs, which, in turn, generates profits for

16    Defendant directly from the use of the Infringements.

17            39.     On information and belief, Defendant enjoyed a directed financial benefit from

18    the infringing activity of its members, employees and agents from, inter alia, advertising

19    revenue derived from the increased traffic to its Website and from increase in fees paid by

20    sponsors.

21            40.     On information and belief, Defendant further enjoyed a directed financial

22    benefit from using the “draw” of Plaintiff’s Photographs to increase user traffic, thereby

23    increasing advertising revenue, sponsorship fees, partnership opportunities, brand awareness,

24    and its readership base.

25            41.     Accordingly, Defendant is liable as a vicarious infringer since it profited from

26    direct infringement while declining to exercise a right to stop or limit it. See e.g., Perfect 10,

27    Inc. v. Amazon.com, Inc., 508 F.3d. 1146, 1171 (9th Cir. 2007); Metro-Goldwyn-Mayer

28    Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 929-30 (2005).

29            42.     As a direct and proximate result of Defendant's misconduct, Plaintiff has been

30    substantially harmed and should be awarded statutory damages against Defendant pursuant to

31    17 U.S.C. §504(c) of up to $150,000 per infringement in an amount to be proven at trial.

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 1
 2                                             THIRD COUNT
                                    (Injunction Pursuant to 17 U.S.C. §502)
 3
             43.        Plaintiffs repeat and incorporate, as though fully set forth herein, each and
 4
      every allegation contained in the preceding paragraphs, as though set forth in full herein.
 5
             44.        Plaintiff requests a permanent injunction pursuant to 17 U.S.C. §502(a)
 6
      prohibiting Defendant from displaying the Infringements.
 7
 8                                          FOURTH COUNT
 9                          (Attorney Fees and Costs Pursuant to 17 U.S.C. §505)
             45.        Plaintiffs repeat and incorporate, as though fully set forth herein, each and
10
      every allegation contained in the preceding paragraphs, as though set forth in full herein.
11
             46.        Plaintiff requests, pursuant to 17 U.S.C. §505, their attorney fees and costs for
12
      the prosecution of this action.
13
14
15                                         PRAYER FOR RELIEF

16           WHEREFORE, Plaintiff respectfully requests judgment as follows:
17           That the Court enters a judgment finding that Defendant has infringed on Plaintiff's
18    rights to the Photographs in violation of 17 U.S.C. §501 et seq. and award damages and
19    monetary relief as follows:
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                   a.      Statutory damages against Defendant pursuant to 17 U.S.C. §504(c) of up
21
                           to $150,000 per Infringement or, in the alternative, Plaintiff’s actual
22
                           damages and the disgorgement of Defendant’s wrongful profits in an
23
                           amount to be proven at trial; and
24
25                 b.      A permanent injunction against Defendant pursuant to 17 U.S.C. §502; and

26                 c.      Plaintiff's attorneys' fees pursuant to 17 U.S.C. §505; and
27                 d.      Plaintiff's costs; together with
28                 e.      Such other relief that the Court determines is just and proper.
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 1    DATED: July 20, 2016
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